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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION at LEXINGTON

                                                                               Electronically Filed

TENTLOGIX, INC.                                        )
                                                       )
               PLAINTIFF                               )
                                                       )
v.                                                     )    Civil Action No.
                                                       )
FULL CIRCLE EVENTS, INC.                               )
4695 W. Serene                                         )
Las Vegas, Nevada 89139                                )
                                                       )
       SERVE:         Jed Hayden                       )
                      Registered Agent                 )
                      718 W. Main St., Suite 202       )
                      Louisville, Kentucky 40202       )
                                                       )
RUDY LEKAR                                             )
4695 W. Serene                                         )
Las Vegas, Nevada 89139                                )
                                                       )
       SERVE:         Kentucky Secretary of State      )
                      152 State Capitol                )
                      700 Capitol Avenue               )
                      Frankfort, Kentucky 40601        )
                                                       )
JASON GRAY                                             )
4695 W. Serene                                         )
Las Vegas, Nevada 89139                                )
                                                       )
       SERVE:         Kentucky Secretary of State      )
                      152 State Capitol                )
                      700 Capitol Avenue               )
                      Frankfort, Kentucky 40601        )
                                                       )
               DEFENDANTS                              )

                                         COMPLAINT

               The Plaintiff, TentLogix, Inc., by counsel, for its Complaint against the

Defendants, Full Circle Events, Inc., Rudy LeKar, and Jason Gray, states and alleges as follows:
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                                             PARTIES

        1.      The Plaintiff, TentLogix, Inc., is a corporation organized under the laws of Florida

with its principal place of business in Stuart, Florida. TentLogix, Inc. provides rental equipment

for special events under the name Premier Tenting Solutions and Party Rentals.

        2.      The Defendant, Full Circle Events, Inc., is a corporation organized under the laws

of Nevada with its principal place of business in Las Vegas, Nevada. Full Circle Events, Inc. is a

contractor for special events.

        3.      Upon information and belief, the Defendant, Rudy LeKar, is a co-founder, officer,

and director of Full Circle Events, Inc. and is a resident and citizen of Nevada.

        4.      Upon information and belief, the Defendant, Jason Gray, is a co-founder, officer,

and director of Full Circle Events, Inc. and is a resident and citizen of Nevada.

                                 JURISDICTION AND VENUE

        5.      The Plaintiff restates and realleges all prior paragraphs of this Complaint as if set

forth fully herein.

        6.      This Court has personal jurisdiction over the Defendants identified above because

they are transacting or have transacted business in the Commonwealth of Kentucky.

        7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 because the matter in controversy exceeds the sum or value of Seventy-Five Thousand

Dollars ($75,000), exclusive of interest and costs, and is between citizens of different states.

        8.      Venue is proper in this Court because it is an action to recover damages resulting

from the breach of a contract that was both entered into and to be performed in the Eastern

District of Kentucky, specifically Fayette County, Kentucky.




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                                  FACTUAL BACKGROUND

        9.      The Plaintiff restates and realleges all prior paragraphs of this Complaint as if set

forth fully herein.

        10.     The Defendant, Full Circle Events, Inc., was a general rental contractor charged

with supplying tenting, tent flooring, fuel, and accessory equipment for the 2010 World

Equestrian Games held in Lexington, Kentucky.

        11.     On or about May of 2010, the Defendant, Full Circle Events, Inc., approached the

Plaintiff, TentLogix, Inc., to discuss hiring the Plaintiff to furnish, rent, and install tents and

chalets and provide other materials for events associated with the 2010 World Equestrian Games.

        12.     As a result of the Defendant, Full Circle Events, Inc.’s, interest in obtaining the

Plaintiff, TentLogix, Inc’s, services for the 2010 World Equestrian Games, the Plaintiff entered

into discussions and negotiations with the Defendants concerning the price of the services to be

provided and other performance issues. As part of these negotiations, representatives from the

parties met several times in Lexington, Kentucky.

                            COUNT I – BREACH OF CONTRACT

        13.     The Plaintiff restates and realleges all prior paragraphs of this Complaint as if set

forth fully herein.

        14.     The negotiations described above resulted in an agreement (“the Agreement”)

between the Plaintiff and the Defendant, Full Circle Events, Inc, wherein it was agreed that the

Plaintiff would furnish, install, and erect tents and chalets for the 2010 World Equestrian Games

in consideration of a price to be paid by the Defendant based upon the square footage and

equipment provided.




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        15.     Subsequent to reaching the Agreement, the Plaintiff erected and installed all tents

and chalets required under the Agreement, and all obligations and conditions precedent under the

parties’ agreement have been performed by the Plaintiff or otherwise have occurred.

        16.     As the 2010 World Equestrian Games approached, the Defendant submitted

numerous changes in the quantity of equipment and the scope of services and equipment to be

provided by the Plaintiff, which resulted in significantly increased costs of the Plaintiff’s services.

The Defendant approved and promised to pay for all of the increased costs.

        17.     To date, the Defendant, Full Circle Events, Inc., has paid the Plaintiff

approximately Six Hundred Thousand Dollars ($600,000) in installments for the services and

material the Plaintiff has provided in relation to the 2010 World Equestrian Games.

        18.     The Defendant, Full Circle Events, Inc., owes the Plaintiff Three Hundred Sixty

Thousand, Six Hundred Sixty-eight Dollars ($360,668) due under the terms of the parties’

Agreement.

        19.     Despite the demands of the Plaintiff, the Defendant, Full Circle Events, Inc., has

failed and refused to perform its obligations under the parties’ agreement by paying the Plaintiff

the balance owed.

        20.     The Plaintiff is entitled to recover as damages all damages that are the natural and

proximate result of the above-referenced breach of contract by the Defendant, Full Circle Events,

Inc.

              COUNT II – QUANTUM MERUIT AND UNJUST ENRICHMENT

        21.     The Plaintiff restates and realleges all prior paragraphs of this Complaint as if set

forth fully herein.




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       22.     The Plaintiff rendered valuable services and furnished materials to the Defendant,

Full Circle Events, Inc., by erecting tents and chalets and making these tents, chalets, and related

equipment available for the Defendant’s use during the 2010 World Equestrian Games.

       23.     The work, services, material, and equipment provided by the Plaintiff were

received and/or accepted by the Defendant, Full Circle Events, Inc., or were rendered with the

knowledge and consent of the Defendant and under circumstances as reasonably notified the

Defendant that the Plaintiff expected to be paid by the Defendant.

       24.     The work, services, material, and equipment provided by the Plaintiff benefitted

the Defendant, Full Circle Events, Inc., in that the Defendant would have had to perform said

work and services or hire a third party to perform said work and services but for the fact that the

Plaintiff provided this work, services, and materials.

       25.     Despite making payments in installments totaling Six Hundred Thousand Dollars

($600,000), the Defendant, Full Circle Events, Inc., has not made a reasonable payment for the

services provided and materials furnished.

       26.     The Defendant, Full Circle Events, Inc., would be unjustly enriched if it was

allowed to retain the benefits resulting from the work, services, materials, and equipment provided

by the Plaintiff without having to make a reasonable payment for the value of the benefits

received.

       27.     The Plaintiff was not a volunteer in rendering the services and performing the work

associated with furnishing tents and chalets for the 2010 World Equestrian Games, and the

Defendant, Full Circle Events, Inc., understood that the Plaintiff was entitled to compensation for

the services and work performed.




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        28.     All conditions precedent to the maintenance of this action have been performed by

the Plaintiff or have otherwise occurred.

        29.     The Plaintiff is entitled to recover the reasonable value of the services rendered and

materials furnished and/or the benefits realized by the Defendant.

                                       COUNT III - FRAUD

        30.     The Plaintiff restates and realleges all prior paragraphs of this Complaint as if set

forth fully herein.

        31.     During Full Circle Events, Inc.’s discussions and negotiations with the Plaintiff,

including but not limited to those that occurred in Lexington, Kentucky, Defendants Rudy LeKar

and Jason Gray, as representatives of Full Circle, Inc., represented to the Plaintiff that the

Defendants would pay the Plaintiff the full contract amount for the value of furnishing and

installing tents and chalets for the 2010 World Equestrian Games.

        32.     The representations mentioned above were false when the Defendants made them

in that the Defendants never intended to pay the Plaintiff the full contract price for its services.

        33.     The Defendants knew that the above-referenced representations were false or

made them with reckless disregard for their truth or falsity.

        34.     The Defendants made the above-referenced representations with the intent and for

the purpose of deceiving the Plaintiff and to induce the Plaintiff into relying upon them by entering

an agreement to furnish, supply, and install tents and chalets for the 2010 World Equestrian

Games and performing its obligations under the Agreement.

        35.     The Defendants’ false representations induced the Plaintiff to enter a contract to

furnish tents and chalets for the 2010 World Equestrian Games in reasonable reliance upon the

representations.



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        36.     The Plaintiff, in reliance on the representations mentioned above, furnished tent

and chalet materials and installed tents and chalets for the 2010 World Equestrian Games at

considerable cost and effort.

        37.     The Plaintiff’s reliance on the representations mentioned above was reasonable

under the circumstances.

        38.     As a direct and proximate result of the conduct of the Defendants as described

above, the Plaintiff incurred considerable costs, all to the Plaintiff’s damage.

                                COUNT IV – PUNITIVE DAMAGES

        39.     The Plaintiff restates and realleges all prior paragraphs of this Complaint as if set

forth fully herein.

        40.     The Defendants’ actions described herein were malicious, oppressive, intentional,

and willfully manifested an intentional disregard for the legitimate rights and interest of the

Plaintiff, entitling Plaintiff to an award of punitive and exemplary damages against the Defendants

pursuant to KRS 411.184.

                WHEREFORE, the Plaintiff, TentLogix, Inc., prays for judgment against the

Defendants, Full Circle Events, Inc., Rudy LeKar, and Jason Gray, as follows:

        A.      For damages in an amount in excess of the amount required to confer subject

matter jurisdiction on this Court and to be proven at trial.

        B.      For pre- and post-judgment interest.

        C.      For punitive damages;

        D.      For costs of suit herein incurred;

        E.      For trial by jury; and

        F.      For such other and further relief as the Court may deem proper.


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                                     Respectfully submitted,

                                      s / Gregory S. Berman
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                                     Counsel for Plaintiff, TentLogix, Inc.


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